      Case 1:21-cr-00212-ABJ Document 11 Filed 03/26/21 Page 1 of 2



                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

════════════════════════════════╗
UNITED STATES OF AMERICA        ║
                                ║
     v.                         ║ Criminal No. 21-cr-00212-ABJ
                                ║
JARED HUNTER ADAMS              ║
════════════════════════════════╝

                   MOTION TO WITHDRAW AS COUNSEL

    Comes now undersigned counsel to respectfully move this

Court to grant him leave to withdraw as counsel.

    As ground therefore, counsel states as follows:

    1.   Counsel was appointed to this case on March 13, 2021.

    2.   Since that date, counsel has numerous conferences and

texts to and from the defendant.

    3.   At this point the attorney-client relationship has

broken down to the point that there are irreconcilable conflicts

about how this case should be handled so that no meaningful

discussions can be had.

    4.   The undersigned moves the Court that new counsel should

be appointed.

    WHEREFORE, it is prayed that this Motion be granted.


                                        Respectfully submitted,


                                        /s/ Richard S. Stern
                                        _________________________
                                        RICHARD S. STERN
                                        DC Bar No. 205377
                                        932 Hungerford Drive
                                        Suite 37A
                                        Rockville, MD 20850
                                        301-340-8000
                                        E-mail: rssjrg@rcn.com


                                    1
      Case 1:21-cr-00212-ABJ Document 11 Filed 03/26/21 Page 2 of 2



                     CERTIFICATE OF SERVICE


     I HEREBY CERTIFY THAT a copy of the foregoing was served by
postage prepared first class mail to:

Mr. Jared Hunter Adams
9230 Cemetery Pike
Plain City, OH 43064

and electronically on all counsel of record by ECF this 26th day
of March, 2021.


                                        /s/ Richard S. Stern
                                        _________________________
                                        RICHARD S. STERN




                                    2
